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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )              Case No. 5:22-cr-49-gwc
                                              )
NATHAN CARMAN,                                )
    Defendant.                                )

             UNOPPOSED MOTION TO CONTINUE DETENTION HEARING

       Defendant Nathan Carman, by and through counsel, moves to continue his detention

hearing indefinitely, for good cause, and sets forth the following in support thereof:

       1.      An indictment was filed against Mr. Carman on May 2, 2022 charging him with

three counts of mail fraud in violation of 18 U.S.C. § 1341, four counts of wire fraud in violation

of 18 U.S.C. § 1343, and one count of murder on the high seas (Count 7), in violation of 18

U.S.C. § 1111. He was arrested on May 10th and arraigned on May 11, 2022.

       2.      Also on May 11, the government, through its counsel, filed a motion for pretrial

detention of Mr. Carman pursuant to 18 U.S.C. § 3142(e) and (f), citing certain allegations of

fact in support of the indictment. The Court set a detention hearing for May 16, 2022, at 1:30

p.m.

       3.      This is a complex case, with factual allegations dating back to 2016, where many

of the allegations occurred out of state. After speaking with Mr. Carman and reading the factual

allegations set forth in the government’s Motion, undersigned counsel believes it is necessary to

pursue § 3142(g) factor investigation prior to a detention hearing on this matter. Specifically,

counsel intends to seek out potential witnesses, records, and conduct other consultations and

investigations, all of which will be of utmost importance to this Court’s consideration of §

3142(g) factors at the detention hearing and counsel’s argument for release. Counsel has a good
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faith basis to believe that such investigation and preparation will take more than five days.

       4.      Counsel has spoken with Assistant United States Attorneys Nathanael T. Burris

and Paul J. Van de Graaf, and they have no objection to an extension of the motion’s deadline.

       WHEREFORE, Mr. Carman respectfully requests that the Court grant the Defendant’s

Unopposed Motion to Continue Detention Hearing beyond five days for good cause. Mr. Carman

further requests that the continuance be granted for an indefinite period pending undersigned

counsel’s investigation whereby counsel will notify the Court when it is prepared to proceed. In

the alternative, Mr. Carman would request at least a two-week continuance.


Dated: May 13, 2022



                                                      MICHAEL L. DESAUTELS
                                                      FEDERAL PUBLIC DEFENDER

                                               By:    /s/ Sara M. Puls_______________
                                                      Sara M. Puls
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                                                      Counsel for Mr. Carman




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